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 7
                                    UNITED STATES DISTRICT COURT
 8                                 WESTERN DISTRICT OF WASHINGTON
                                             AT SEATTLE
 9
      PEOPLES BANK,
10                                                      IN ADMIRALTY
                      Plaintiff,
11                                                      Case No. 2:22-cv-1151
                vs.
12                                                      VERIFIED COMPLAINT TO FORECLOSE
      S/Y TEMPO, Official Number 1271877 in             PREFERRED MORTGAGE
13    rem; and the ESTATE OF LUDWIG
      VOLLERS III, in personam,
14
                      Defendants,
15

16

17          Plaintiff Peoples Bank, by way of Verified Complaint, verifies, states and alleges as

18   follows:

19                                         I. INTRODUCTION

20          1.        Plaintiff Peoples Bank granted a loan to Ludwig Vollers III, which loan is

21   secured by, inter alia, a preferred mortgage upon the U.S. documented sailing yacht TEMPO,

22   Official No.1271877. The Borrower has defaulted upon the loan. Plaintiff Peoples Bank

23   commences this action against the vessel and its appurtenances, in rem, and against Ludwig

24   Vollers III, in personam, for any deficiency judgment after application of any recoveries from

25   the sale of the Vessel herein.

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     AMENDED VERIFIED COMPLAINT TO FORECLOSE                          Pier 70 | 2801 Alaskan Way | Suite 300
     PREFERRED MORTGAGE - 1                                                  Seattle, WA 98121‐1128
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                                                                                              4879-4313-7837.1
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 1                                              II. PARTIES
 2          2.       Plaintiff Peoples Bank (hereinafter at times referred to as “Peoples Bank” or the
 3   “Bank”) is a bank corporation organized and existing under the laws of the State of Washington.
 4          3.       In rem defendant, S/Y TEMPO, Official Number 1271877 (the “Vessel”), is a
 5   recreational vessel owned by Ludwig Vollers III, and believed to be currently located in the State
 6   of Washington within this District and division, in Seattle, Washington.
 7          4.       In personam defendant Ludwig Vollers III (“Vollers” or “Borrower”), on
 8   information and belief, is a resident of King County, Washington.
 9                                  III. JURISDICTION AND VENUE
10           5.      This is a case of admiralty and maritime jurisdiction brought pursuant to
11    28 U.S.C. § 1333 that presents admiralty and maritime claims within the meaning of Rule 9(h)
12    of the Federal Rules of Civil Procedure. This court has original and exclusive jurisdiction over
13    this action in admiralty in rem and original jurisdiction over the action in personam in
14    accordance with the provisions of 46 U.S.C. §31325(c).
15          6.       The Court has jurisdiction over the claims of Peoples Bank against the in rem
16   defendant because the
17          7.       The defendant vessel S/Y TEMPO and its appurtenances are within this District.
18          8.       Venue is proper pursuant to 28 U.S.C. § 1391(b) because the in rem defendant
19   M/Y TEMPO is currently located within this District and division.
20                                   IV. FACTUAL BACKGROUND
21          9.       On or about April 14, 2016, for valuable consideration, Vollers executed and
22   delivered to Peoples Bank a Promissory Note in favor of Peoples Bank in the original principal
23   amount of $337,706.00, together with interest at 5.270% per annum (as amended, supplemented,
24   or otherwise modified, the “Note”). A true and correct copy of the Note is attached hereto as
25   Exhibit A.
26



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 1          10.      To secure repayment of the obligations of Vollers under the Note, Vollers
 2   executed and delivered to Peoples Bank a Preferred Mortgage of Vessel upon the S/Y TEMPO,
 3   Official Number 1271877 in favor of Peoples Bank dated April 14, 2016 (the “Preferred
 4   Mortgage”) to secure all amounts due Peoples Bank under the Note. The Preferred Mortgage
 5   was duly recorded with the United States Coast Guard National Vessel Documentation Center on
 6   June 25, 2016. A true and correct copy of Peoples Bank’s Preferred Mortgage is attached hereto
 7   as Exhibit B.
 8          11.      On April 15, 2022, Vollers defaulted on the Note by failing to make payments of
 9   amounts owed to Peoples Bank on that date and thereafter under the Note.
10          12.      The Note provides that if payments are more than ten days late, Peoples Bank
11   may charge a late fee equal to 5.00% of the regularly scheduled payment or $50.00, whichever is
12   less (each instance, a “Late Charge”). The Note further provides that the Borrower will pay
13   Peoples Bank its attorneys’ fees and legal expenses, whether or not there is a lawsuit, including
14   attorneys’ fees, expenses or bankruptcy proceedings, appeals and costs (“Legal Fees &
15   Expenses”). The Note further provides that it shall be binding upon Voller’s heirs, personal
16   representatives, successors and assigns. The Note further provides that if judgment is entered in
17   connection with the Note, interest will continue to accrue after the date of judgment at the rate in
18   effect at the time judgment is entered.
19          13.      As of July 15, 2022, the total amount outstanding under the Note was $297,773.83,
20   which consisted of the following: the principal amount of $294,722.94, interest in the amount of
21   $3,050.89. Peoples Bank has and will continue to incur attorneys’ fees and costs in connection
22   with enforcement of the Note. Also continuing to accrue under the Note are continuing interest
23   and Late Charges.
24          14.      Plaintiff brings this Verified Complaint to Foreclose Preferred Mortgage, in rem,
25   against the SY TEMPO and to secure a deficiency judgement against the in personam defendant
26



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 1   Vollers for all amounts remaining due Peoples Bank after application of the net amounts
 2   recovered from the disposition of the said Vessel.
 3                                     V. CLAIMS FOR RELIEF
 4                                    FIRST CLAIM FOR RELIEF
 5                       (Breach of Contract Foreclosure of Preferred Mortgage)
 6           15.    Peoples Bank incorporates by reference all allegations set forth above.
 7          16.     Peoples Bank and Ludwig Vollers III entered into a valid contract (the Note) that
 8   obligated Vollers to repay the amounts owed to Peoples Bank under the Note and the Preferred
 9   Mortgage.
10          17.     Peoples Bank performed its obligations under the Note and Preferred Mortgage in
11   all material respects. Vollers has defaulted and refused to pay the sums due.
12          18.     Vollers is in default under the Note for, among other things, his failure to pay the
13   amounts due under the Note. These defaults constitute breach of the Note and the Preferred
14   Mortgage. Peoples Bank is entitled to judgment against the Vollers for damages for his breaches
15   of contract.
16          19.      As stated in paragraph 13, above total amount owed under the Note as of July 15,
17   2022, is $297,773.83, with additional interest, Late Charges, Legal Fees & Expenses and costs
18   continuing to accrue.
                                    SECOND CLAIM FOR RELIEF
19
                             (FORECLOSURE OF PREFERRED MORTGAGE)
20

21          20.     Peoples Bank incorporates by reference all allegations set forth above.
22          21.     Under Peoples Bank’s Preferred Mortgage, upon any default in payment upon the
23   Note, Peoples Bank is entitled to foreclose its mortgage upon the S/Y TEMPO.
24          22.     Pursuant to 46 U.S.C. § 31325(a), Peoples Bank’s Preferred Mortgage grants
25   Peoples Bank a valid and enforceable preferred mortgage lien in the S/Y TEMPO and all its
26   appurtenances, for the full amount of Borrower’s indebtedness under the Note.



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 1          23.     Pursuant to 46 U.S.C. §§ 31325(b)(1) and 31326, and the terms of Peoples Bank’s
 2   Preferred Mortgage, upon a default under the Note, Peoples Bank is entitled to enforce its
 3   preferred mortgage liens in a civil action brought in rem under Rule C of the Supplemental Rules
 4   to foreclose Peoples Bank’s Preferred Mortgage.
 5          24.     Peoples Bank hereby elects to foreclose Peoples Bank’s Preferred Mortgage on
 6   the S/Y TEMPO and all of its appurtenances.
 7
                                       VI. PRAYER FOR RELIEF
 8

 9          WHEREFORE, Peoples Bank prays for relief as follows:
10          25.     That process in due form of the law issue against the defendant vessel S/Y
11   TEMPO and its appurtenances, and as against the in personam defendant Ludwig Vollers III.
12          26.     On its second claim for relief:
13                  (A.) That the court award Peoples Bank judgement in rem against the defendant
14          vessel S/Y TEMPO for and it appurtenances all amounts due under the Note, including
15          interest, Late Charges, and Legal Fees & Expenses incurred by Peoples Bank in the
16          enforcement of its Note and Preferred Mortgage. That this Court declare the liens of
17          Peoples Bank’s Preferred Mortgage, and the judgment entered for Peoples Bank thereon,
18          to be superior to all other liens and other encumbrances which may exist against the S/Y
19          TEMPO;
20                  (B.) That the clerk of this Court be directed to issue to the U.S. Marshal a writ for
21          the sale of the S/Y TEMPO, and its engines, tackle, gear, and appurtenances;
22                  (C.) That Peoples Bank’s Preferred Mortgage be foreclosed and the S/Y TEMPO,
23          her engines, tackle, gear, and other appurtenances, be sold in accordance with the law,
24          that the proceeds of the sale be applied and delivered to pay the claim of Peoples Bank as
25          set forth herein, including all costs, Legal Fees & Expenses, and that it be declared that
26          any and all persons or entities claiming any interest in the S/Y TEMPO and



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 1          appurtenances be forever foreclosed from asserting their claims as against the S/Y
 2          TEMPO, her engines, tackle, gear, and other appurtenances, including all rights of equity
 3          or redemption of claim;
 4                  (D.) That, at the sale of the S/Y TEMPO and her appurtenances, Peoples Bank be
 5          permitted to credit bid without cash deposit, up to the extent of its judgment.
 6          27.     That Peoples Bank and recover from Ludwig Vollers III, individually, judgement
 7   for any deficiency after the application and delivery of the proceeds from the sale of the S/Y
 8   TEMPO.
 9          28.     For all other and further relief as in law and in equity it may be entitled to receive.
10

11          DATED this 16th day of August, 2022.
12
                                                           s/Jess G. Webster
13                                                         Jess G. Webster, WSBA No. 11402
                                                           s/Drew F. Duggan
14                                                         Drew F. Duggan, WSBA No. 50796
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